 

Case 13-12552-MFW Doc3_ Filed 09/30/13 Page 1 of 15

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11

GATEHOUSE MEDIA, INC., Case No. 13-12503 (MFW)

Debtor.
Docket Ref. No. 3

Tax I.D. No. XX-XXXXXXX

 

In re: Chapter 11

GATEHOUSE MEDIA INTERMEDIATE
HOLDCO, INC.,

Case No. 13-12504 (MFW)

Debtor.

Tax I.D. No. XX-XXXXXXX

 

In re: Chapter 11

GATEHOUSE MEDIA HOLDCO, INC., Case No. 13-12505 (MF W)
Debtor.

Tax I.D. No. XX-XXXXXXX

 

In re: Chapter 11

GATEHOUSE MEDIA OPERATING, INC., Case No. 13-12506 (MFW)
Debtor.

Tax I.D. No. XX-XXXXXXX

 

In re: Chapter 11

COPLEY OHIO NEWSPAPERS, INC., Case No. 13-12507 (MFW)

Debtor.

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Tax ILD. No, XX-XXXXXXX

 
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In re: Chapter 11

ENHE ACQUISITION, LLC, Case No. 13-12508 (MFW)
Debtor.

Tax ID. No. XX-XXXXXXX

 

In re: Chapter 11

ENTERPRISE NEWSMEDIA HOLDING,
LLC,

Case No. 13-12509 (MFW)

Debtor.

Tax I.D. No. XX-XXXXXXX

 

In re: Chapter 11

ENTERPRISE NEWSMEDIA, LLC, Case No. 13-12510 (MFW)
Debtor.

Tax LD. No. XX-XXXXXXX

 

In re: Chapter 11

ENTERPRISE PUBLISHING COMPANY,
LLC,

Case No. 13-12511 (MFW)

Debtor.

Tax LD. No. XX-XXXXXXX

 

In re: Chapter 11

GATEHOUSE MEDIA ARKANSAS
HOLDINGS, INC.,

Case No. 13-12512 (MFW)

Debtor.

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Tax L.D. No. XX-XXXXXXX

 

 
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In re: Chapter 11

GATEHOUSE MEDIA CALIFORNIA
HOLDINGS, INC.,

Case No. 13-12513 (MFW)

Debtor.

Tax LD. No. XX-XXXXXXX

 

In re: Chapter 11

GATEHOUSE MEDIA COLORADO
HOLDINGS, INC.,

Case No. 13-12514 (MFW)

Debtor.

Tax I.D. No. XX-XXXXXXX

 

In re: Chapter 11

GATEHOUSE MEDIA CONNECTICUT
HOLDINGS, INC.,

Case No. 13-12515 (MFW)

Debtor.

Tax I.D. No. XX-XXXXXXX

 

In re: Chapter 11

GATEHOUSE MEDIA CORNING
HOLDINGS, INC.,

Case No. 13-12516 (MEW)

Debtor.

Tax ID. No. XX-XXXXXXX

 

In re: Chapter 11

GATEHOUSE MEDIA DELAWARE
HOLDINGS, INC.,

Case No. 13-12517 (MFW)

Debtor.

Tax I.D. No. XX-XXXXXXX

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In re:

GATEHOUSE MEDIA DIRECTORIES

HOLDINGS, INC.,
Debtor.

Tax I.D. No. XX-XXXXXXX

 

In re:

GATEHOUSE MEDIA FLORIDA
HOLDINGS, INC.,

Debtor.

Tax ILD. No. XX-XXXXXXX

 

In re:

GATEHOUSE MEDIA FREEPORT
HOLDINGS, INC.,

Debtor.

Tax ID. No. XX-XXXXXXX

 

In re:

GATEHOUSE MEDIA ILLINOIS
HOLDINGS, INC.,

Debtor.

Tax I.D. No. XX-XXXXXXX

 

In re:

GATEHOUSE MEDIA ILLINOIS
HOLDINGS II, INC.,

Debtor.

Tax I.D. No. XX-XXXXXXX

 

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Chapter 11

Case No. 13-12518 (MFW)

Chapter 11

Case No. 13-12519 (MFW)

Chapter 11

Case No. 13-12520 (MF W)

Chapter 11

Case No. 13-12521 (MFW)

Chapter 11

Case No. 13-12522 (MFW)
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In re: Chapter 11

GATEHOUSE MEDIA IOWA HOLDINGS,
INC.,

Case No. 13-12523 (MFW)

Debtor.

Tax I.D. No. XX-XXXXXXX

 

In re: Chapter 11

GATEHOUSE MEDIA KANSAS
HOLDINGS, INC.,

Case No. 13-12524 (MFW)

Debtor.

Tax I.D. No. XX-XXXXXXX

 

In re: Chapter 11

GATEHOUSE MEDIA KANSAS
HOLDINGS JU, INC.,

Case No. 13-12525 (MFW)

Debtor.

Tax ID. No. XX-XXXXXXX

 

In re: Chapter 11
GATEHOUSE MEDIA LANSING Case No. 13-12526 (MFW)
PRINTING, INC.,

Debtor.

Tax I.D. No. XX-XXXXXXX

 

In re: Chapter 11

GATEHOUSE MEDIA LOUISIANA
HOLDINGS, INC.,

Case No. 13-12527 (MFW)

Debtor.

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Tax I.D. No. XX-XXXXXXX

 
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In re:

GATEHOUSE MEDIA MANAGEMENT
SERVICES, INC.,

Debtor.

Tax I.D. No. XX-XXXXXXX

 

In re:

GATEHOUSE MEDIA MASSACHUSETTS
I, INC.,

Debtor.

Tax LD. No. XX-XXXXXXX

 

In re:

GATEHOUSE MEDIA MASSACHUSETTS
II, INC.,

Debtor.

Tax I.D. No. XX-XXXXXXX

 

In re:

GATEHOUSE MEDIA MICHIGAN
HOLDINGS, INC.,

Debtor.

Tax I.D. No. XX-XXXXXXX

 

In re:

GATEHOUSE MEDIA MICHIGAN
HOLDINGS I, INC.,

Debtor.

Tax I.D. No. XX-XXXXXXX

 

 

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Chapter 11

Case No. 13-12528 (MFW)

Chapter 11

Case No. 13-12529 (MFW)

Chapter 11

Case No. 13-12530 (MFW)

Chapter 11

Case No. 13-12531 (MFW)

Chapter 11

Case No. 13-12532 (MF W)
 

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In re: Chapter 11

GATEHOUSE MEDIA MINNESOTA
HOLDINGS, INC.,

Case No. 13-12533 (MFW)

Debtor.

Tax I.D. No. XX-XXXXXXX

 

In re: Chapter 11

GATEHOUSE MEDIA MISSOURI
HOLDINGS, INC.,

Case No. 13-12534 (MFW)

Debtor.

Tax I.D. No. XX-XXXXXXX

 

In re: Chapter 11

GATEHOUSE MEDIA MISSOURI
HOLDINGS II, INC.,

Case No. 13-12535 (MFW)

Debtor.

Tax LD. No. XX-XXXXXXX

 

In re: Chapter 11

GATEHOUSE MEDIA NEBRASKA
HOLDINGS, INC.,

Case No. 13-12536 (MFW)

Debtor.

Tax L.D. No. XX-XXXXXXX

 

In re: Chapter 11

GATEHOUSE MEDIA NEBRASKA
HOLDINGS II, INC.,

Case No. 13-12537 (MFW)

Debtor.

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Tax ID. No. XX-XXXXXXX

 

 
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In re: Chapter 11

GATEHOUSE MEDIA NEVADA
HOLDINGS, INC.,

Case No. 13-12538 (MFW)

Debtor.

Tax LD. No. XX-XXXXXXX

 

In re: Chapter 11

GATEHOUSE MEDIA NEW YORK
HOLDINGS, INC.,

Case No. 13-12539 (MFW)

Debtor.

Tax LD. No. XX-XXXXXXX

 

In re: Chapter 11

GATEHOUSE MEDIA NORTH DAKOTA
HOLDINGS, INC.,

Case No. 13-12540 (MFW)

Debtor.

Tax I.D. No. XX-XXXXXXX

 

In re: Chapter 11

GATEHOUSE MEDIA OHIO HOLDINGS,
INC.,

Case No. 13-12541 (MFW)

Debtor.

Tax I.D. No. XX-XXXXXXX

 

In re: Chapter 11

GATEHOUSE MEDIA OKLAHOMA
HOLDINGS, INC.,

Case No. 13-12542 (MFW)

Debtor.

Tax LD. No. XX-XXXXXXX

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In re: Chapter 11

GATEHOUSE MEDIA PENNSYLVANIA
HOLDINGS, INC.,

Case No. 13-12543 (MF W)

Debtor.

Tax I.D. No. XX-XXXXXXX

 

In re: Chapter 11

GATEHOUSE MEDIA SUBURBAN
NEWSPAPERS, INC.,

Case No. 13-12544 (MFW)

Debtor.

Tax I.D. No. XX-XXXXXXX

 

In re: Chapter 11

GATEHOUSE MEDIA TENNESSEE
HOLDINGS, INC.,

Case No. 13-12545 (MFW)

Debtor.

Tax ILD. No. XX-XXXXXXX

 

In re: Chapter 11

GATEHOUSE MEDIA VENTURES, INC., Case No. 13-12546 (MFW)
Debtor.

Tax I.D. No. XX-XXXXXXX

 

In re: Chapter 11

GEORGE W. PRESCOTT PUBLISHING
COMPANY, LLC,

Case No. 13-12547 (MFW)

Debtor.

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Tax I.D. No. XX-XXXXXXX

 

 
 

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In re: Chapter 11

LIBERTY SMC, L.L.C., Case No. 13-12548 (MF W)
Debtor.

Tax LD. No. XX-XXXXXXX

 

In re: Chapter 11

LOW REALTY, LLC, Case No. 13-12549 (MFW)
Debtor.

Tax ID. No. XX-XXXXXXX

 

In re: Chapter 11

LRT FOUR HUNDRED, LLC, Case No. 13-12550 (MF W)
Debtor.

Tax I.D. No. XX-XXXXXXX

 

In re: Chapter 11

MINERAL DAILY NEWS TRIBUNE, INC, Case No. 13-12551 (MF W)
Debtor.

Tax I.D. No. XX-XXXXXXX

 

In re: Chapter 11

NEWS LEADER, INC., Case No. 13-12552 (MFW)

Debtor.

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Tax I.D. No. XX-XXXXXXX

 

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In re: Chapter 11

SUREWEST DIRECTORIES, Case No. 13-12553 (MFW)
Debtor.

Tax ILD. No. XX-XXXXXXX

 

In re: Chapter 11

TERRY NEWSPAPERS, INC., Case No. 13-12554 (MFW)
Debtor.

Tax I.D. No. XX-XXXXXXX

 

In re: Chapter 11

THE PEORIA JOURNAL STAR, INC., Case No. 13-12555 (MFW)

Debtor.

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Tax LD. No. XX-XXXXXXX

 

ORDER DIRECTING JOINT ADMINISTRATION OF RELATED CHAPTER 11 CASES
Upon consideration of the motion (the “Motion”)’ of the above-captioned Debtors
for entry of an order pursuant to section 105(a) of the Bankruptcy Code, Bankruptcy Rule
1015(b), and Local Rule 1015-1 directing the joint administration of the Debtors’ related chapter
11 cases; and upon consideration of the Reed Declaration and the entire record of these chapter
11 cases; and it appearing that the Court has jurisdiction to consider the Motion pursuant to 28
U.S.C. §§ 1334 and 157, and the Amended Standing Order of Reference dated February 29,
2012, from the United States District Court for the District of Delaware; and it appearing that the
Motion is a core matter pursuant to 28 U.S.C. § 157(b)(2) and that the Court may enter a final

order consistent with Article III of the United States Constitution; and it appearing that venue of

 

' Capitalized terms not defined herein shall have the meanings given to them in the Motion.

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these cases and of the Motion is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and it appearing
that due and adequate notice of the Motion has been given under the circumstances, and that no
other or further notice need be given; and it appearing that the relief requested in the Motion is in
the best interests of the Debtors’ estates, their creditors, and other parties in interest; and after
due deliberation, and good and sufficient cause appearing therefor, it is hereby

ORDERED, ADJUDGED, and DECREED as follows:

1. The Motion is GRANTED as set forth herein.

2. The above-captioned chapter 11 cases are consolidated for procedural
purposes only and shall be jointly administered by the Court under Case No. 13-12503 (MFW).

3. The caption of the jointly administered cases shall read as follows:

[continued next page]

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

)
In re: ) Chapter 11

)
GATEHOUSE MEDIA, INC., ) Case No. 13-12503 (MFW)
a Delaware Corporation, et al.' )

) Gointly Administered)

Debtors. )
)

 

 

" The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number,
are: GateHouse Media, Inc. (7635), Copley Ohio Newspapers, Inc. (4372), ENHE Acquisition, LLC (1504),
Enterprise NewsMedia Holding, LLC (8259), Enterprise NewsMedia, LLC (4672), Enterprise Publishing Company,
LLC (4666), GateHouse Media Arkansas Holdings, Inc. (7662), GateHouse Media California Holdings, Inc. (7639),
GateHouse Media Colorado Holdings, Inc. (0190), GateHouse Media Connecticut Holdings, Inc. (1954), GateHouse
Media Corning Holdings, Inc. (5234), GateHouse Media Delaware Holdings, Inc. (1987), GateHouse Media
Directories Holdings, Inc. (4513), GateHouse Media Florida Holdings, Inc. (6448), GateHouse Media Freeport
Holdings, Inc. (1508), GateHouse Media Holdco, Inc. (8902), GateHouse Media Illinois Holdings II, Inc. (5361),
GateHouse Media Illinois Holdings, Inc. (7640), GateHouse Media Intermediate Holdco, Inc. (9759), GateHouse
Media Iowa Holdings, Inc. (7643), GateHouse Media Kansas Holdings II, Inc. (7914), GateHouse Media Kansas
Holdings, Inc. (7644), GateHouse Media Lansing Printing, Inc. (2242), GateHouse Media Louisiana Holdings, Inc.
(9708), GateHouse Media Management Services, Inc. (7665), GateHouse Media Massachusetts I, Inc. (1503),
GateHouse Media Massachusetts II, Inc. (0859), GateHouse Media Michigan Holdings II, Inc. (7963), GateHouse
Media Michigan Holdings, Inc. (7646), GateHouse Media Minnesota Holdings, Inc. (7648), GateHouse Media
Missouri Holdings II, Inc. (8013), GateHouse Media Missouri Holdings, Inc. (7649), GateHouse Media Nebraska
Holdings II, Inc. (8054), GateHouse Media Nebraska Holdings, Inc. (4763), GateHouse Media Nevada Holdings,
Inc. (4978), GateHouse Media New York Holdings, Inc. (7660), GateHouse Media North Dakota Holdings, Inc.
(1506), GateHouse Media Ohio Holdings, Inc. (5464), GateHouse Media Oklahoma Holdings, Inc. (6313),
GateHouse Media Operating, Inc. (7636), GateHouse Media Pennsylvania Holdings, Inc. (7661), GateHouse Media
Suburban Newspapers, Inc. (5577), GateHouse Media Tennessee Holdings, Inc. (6415), GateHouse Media Ventures,
Inc. (7638), George W. Prescott Publishing Company, LLC (4668), Liberty SMC, L.L.C. (6016), Low Realty, LLC
(4679), LRT Four Hundred, LLC (4676), Mineral Daily News Tribune, Inc. (3343), News Leader, Inc. (4473),
Sure West Directories (7472), Terry Newspapers, Inc. (1037), and The Peoria Journal Star, Inc. (9820). The address
of the Debtors’ corporate headquarters is 350 WillowBrook Office Park, Fairport, NY 14450.

4. The foregoing caption satisfies the requirements set forth in section
342(c)(1) of the Bankruptcy Code.

5. An entry shall be made on the docket of each of the Debtors’ cases, other
than that of GateHouse Media, Inc., that is substantially similar to the following:

An order has been entered in accordance with Rule 1015(b) of the

Federal Rules of Bankruptcy Procedure and Rule 1015-1 of the

Local Rules of Bankruptcy Practice and Procedure of the United

States Bankruptcy Court for the District of Delaware directing
joint administration of the chapter 11 cases of: GateHouse Media,

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Inc., Copley Ohio Newspapers, Inc., ENHE Acquisition, LLC,
Enterprise NewsMedia Holding, LLC, Enterprise NewsMedia,
LLC, Enterprise Publishing Company, LLC, GateHouse Media
Arkansas Holdings, Inc., GateHouse Media California Holdings,
Inc., GateHouse Media Colorado Holdings, Inc., GateHouse Media
Connecticut Holdings, Inc., GateHouse Media Corning Holdings,
Inc., GateHouse Media Delaware Holdings, Inc., GateHouse
Media Directories Holdings, Inc., GateHouse Media Florida
Holdings, Inc., GateHouse Media Freeport Holdings, Inc.,
GateHouse Media Holdco, Inc., GateHouse Media Illinois
Holdings II, Inc., GateHouse Media Illinois Holdings, Inc.,
GateHouse Media Intermediate Holdco, Inc., GateHouse Media
Iowa Holdings, Inc., GateHouse Media Kansas Holdings I, Inc.,
GateHouse Media Kansas Holdings, Inc., GateHouse Media
Lansing Printing, Inc., GateHouse Media Louisiana Holdings, Inc.,
GateHouse Media Management Services, Inc., GateHouse Media
Massachusetts I, Inc., GateHouse Media Massachusetts II, Inc.,
GateHouse Media Michigan Holdings II, Inc., GateHouse Media
Michigan Holdings, Inc., GateHouse Media Minnesota Holdings,
Inc., GateHouse Media Missouri Holdings II, Inc., GateHouse
Media Missouri Holdings, Inc., GateHouse Media Nebraska
Holdings II, Inc., GateHouse Media Nebraska Holdings, Inc.,
GateHouse Media Nevada Holdings, Inc., GateHouse Media New
York Holdings, Inc., GateHouse Media North Dakota Holdings,
Inc., GateHouse Media Ohio Holdings, Inc., GateHouse Media
Oklahoma Holdings, Inc., GateHouse Media Operating, Inc.,
GateHouse Media Pennsylvania Holdings, Inc., GateHouse Media
Suburban Newspapers, Inc., GateHouse Media Tennessee
Holdings, Inc., GateHouse Media Ventures, Inc., George W.
Prescott Publishing Company, LLC, Liberty SMC, L.L.C., Low
Realty, LLC, LRT Four Hundred, LLC, Mineral Daily News
Tribune, Inc., News Leader, Inc., SureWest Directories, Terry
Newspapers, Inc., and The Peoria Journal Star, Inc. All further
pleadings and other papers shall be filed in, and all further docket
entries shall be made in, Case No. 13-12503 (MFW).

6. The Debtors shall maintain, and the Clerk of the United States Bankruptcy
Court for the District of Delaware shall keep, one consolidated docket, one file, and one
consolidated service list.

7. Nothing contained in the Motion or this Order shall be deemed or
construed as directing or otherwise effecting a substantive consolidation of these chapter 11

cases.

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8. Notwithstanding any provision in the Federal Rules of Bankruptcy
Procedure to the contrary, (i) the terms of this Order shall be immediately effective and
enforceable upon its entry, (ii) the Debtors are not subject to any stay in the implementation,
enforcement or realization of the relief granted in this Order, and (iii) the Debtors may, in their
discretion and without further delay, take any action and perform any act authorized under this
Order.

10. | The Court retains jurisdiction with respect to all matters arising from or

related to the interpretation or implementation of this Order.

Dated: Wilmington, Delaware
September40, 2013 Wg JAN Nee
Mary F. Walrath
United States Bankruptcy Judge

 

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